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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case No. 14-20115
v.

JOHNNIE DENHAM, JR. D-1,

                       Defendant.

__________________________________/


                     ADDENDUM TO SENTENCING MEMORANDUM


       Your Honor, Mr. Denham will be sentenced by you on November 16, 2017 based upon

his plea as set forth in the original Sentencing Memorandum.

       Mr. Denham was initially brought before the magistrate in late April 2014. Thus it has

been three and a half years that he has been under the supervision of pretrial services.

       The undersigned spoke with Mr. Denham’s pretrial services officer this week and was

told that during his whole time under pretrial supervision, Mr. Denham was “exemplary” and

that he has “nothing to say but good things about Mr. Denham”.

       This Court should know that Mr. Denham, who has had sufficient time to prove his

character, is, and has been, living the life of a model citizen and is very remorseful for his actions

which brought him into this case.
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                              Respectfully Submitted,


                              s/Patrick M. Cleary

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                              Bloomfield Hills, MI 48302
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Date: October 29, 2017
       5:14-cr-20115-JEL-LJM Doc # 135 Filed 10/29/17 Pg 3 of 3                   Pg ID 849



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case No. 14-20115
v.

JOHNNIE DENHAM, JR. D-1,

                       Defendant.

__________________________________/


                                    CERTIFICATE OF SERVICE

        I, the undersigned, certify that on October 29, 2017 I did electronically file with the Clerk
of the Court using the ECF system the following: Addendum to Sentencing Memorandum and
Certificate of Service and that the ECF system will send notification of such filing to all counsel
of record.



                                       s/Patrick M. Cleary

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